 8:06-cr-00182-LSC-FG3            Doc # 63   Filed: 12/04/06    Page 1 of 2 - Page ID # 131




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )                   8:06CR182
       vs.                                      )
                                                )                     ORDER
LEOPOLDO MEJIA,                                 )
                                                )
                     Defendant.                 )


UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )                   8:06CR338
       vs.                                      )
                                                )                     ORDER
LEOPOLDO MEJIA,                                 )
                                                )
                     Defendant.                 )


        On December 4, 2006, hearing was held on the government's "Notice [Motion] to
Consolidate Cases" ([60] in Case No. 8:06CR182). Christian Martinez appeared for the
government. Defendant was represented by Horacio Wheelock. All parties agreed that Cases
Nos. 8:04CR182 and 8:06CR338 should be consolidated for purposes of plea and sentencing, and
that 8:06CR338 should be the lead case. The defendant then requested that a change of plea
hearing be set for December 28, 2006 before the undersigned. As discussed in open court,


       IT IS ORDERED:


       1. The Motion to Consolidate Cases ([60] in Case No. 8:06CR182) is granted, and Cases
Nos. 8:04CR182 and 8:06CR338 are consolidated for purposes of plea and sentencing. Case No.
8:06CR338 shall be the lead case, and the deadlines set in 8:06CR338 shall govern both cases.

       2. The trial set for December 12, 2006 in 8:06CR182 is cancelled, and Case No.
8:06CR338 is removed from the trial docket based upon the request of the defendant.

       3. A hearing on the defendant's anticipated plea of guilty is scheduled before Magistrate
Judge Gossett on December 28, 2006 at 9:00 AM in Courtroom No. 6, Second Floor, Roman L.
Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
 8:06-cr-00182-LSC-FG3          Doc # 63      Filed: 12/04/06      Page 2 of 2 - Page ID # 132




       3. No later than December 22, 2006, counsel for plaintiff and for defendant shall provide
to the undersigned magistrate judge a copy of the following:

       a) a copy of the Petition to Enter A Guilty Plea;
       b) a copy of any plea agreement; and
       c) a copy of any charging document not yet on file.

Failure to meet this deadline will cause the plea proceeding to be cancelled.

        4. On or before the date for the plea proceeding, counsel for plaintiff and for defendant
shall provide to the assigned probation officer their respective versions of the offense for purposes
of preparing the presentence investigation report.

        5. For this defendant, the time between today's date and the hearing on the anticipated
plea of guilty is excluded for purposes of computing the limits under the Speedy Trial Act. See 18
U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).




                                                -2-
